                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                             CENTRAL DIVISION



 UNITED STATES OF AMERICA,
               Plaintiff,                                No. CR14-3008-LRR
 vs.                                              ORDER REGARDING MOTION
                                                  FOR SENTENCE REDUCTION
 GEORGE LYNN PERRY, JR.,
                                                        PURSUANT TO
               Defendant.                            18 U.S.C. § 3582(c)(2)




       This matter comes before the court on the defendant’s motion to reduce sentence
(docket no. 157). The defendant filed such motion on January 5, 2015. At the court’s
request, the United States Probation Office prepared a memorandum that, among other
things, addresses the defendant’s eligibility for a sentence reduction under 18 U.S.C. §
3582(c)(2) and calculates the defendant’s amended guideline range. The government
requests a hearing in this matter. The court declines to hold a hearing at this time. The
government is directed to submit by no later than May 12, 2015 a sealed report that details
its position regarding a reduction in sentence pursuant to 18 U.S.C. § 3582(c)(2). After
considering the government’s position, the court will either exercise its discretion and
reduce the defendant’s sentence under 18 U.S.C. § 3582(c)(2) or appoint counsel and
conduct a hearing during which the defendant will participate by telephone. At this point
in the proceeding, the defendant need not submit to the court anything that responds to the
government’s sealed report. The clerk’s office is directed to send a copy of this order to




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the defendant, the office of the Federal Public Defender, the office of the United States
Attorney and the office of United States Probation.


      IT IS SO ORDERED.
      DATED this 4th day of May, 2015.




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